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  11
  12                  IN THE UNITED STATES DISTRICT COURT
  13                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14
       MONSTER ENERGY COMPANY,             ) Case No. 5:18-cv-01367-AB-AS
  15
       a Delaware corporation,             )
                                           ) PLAINTIFF MONSTER ENERGY
  16
                   Plaintiff,              ) COMPANY’S MEMORANDUM IN
                                           ) SUPPORT OF ITS MOTION FOR
  17
             v.                            )
                                           ) SUMMARY JUDGMENT ON
  18
       THUNDER BEAST LLC, a District       ) DEFENDANTS’ FAIR USE
       of Columbia limited liability       ) AFFIRMATIVE DEFENSE
  19
       company, and                        )
                                           ) Date:       August 30, 2018
  20
       STEPHEN NORBERG, an                 ) Time:       10:00 a.m.
       individual,                         ) Ctrm:       7B
  21                                       )
                   Defendants.             )
  22                                       )
                                           ) Hon. André Birotte Jr.
  23                                       )
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   1         Plaintiff   Monster    Energy    Company      (“Monster”)   submits   this
   2   Memorandum of Points and Authorities in support of its Motion for Summary
   3   Judgment on Defendants Thunder Beast LLC’s and Stephen Norberg’s
   4   (collectively “Defendants”) fair use affirmative defense.
   5                                I. INTRODUCTION
   6         In 2002, Monster launched its original MONSTER ENERGY® drink.
   7   Monster’s now-famous MONSTER ENERGY® and UNLEASH THE BEAST!®
   8   marks are displayed on the product container. Monster has expanded its line of
   9   MONSTER™ drinks to include many other well-known products, the
  10   containers and packaging of which are prominently marked with the
  11   MONSTER™ mark and most of which are also marked with the UNLEASH
  12   THE BEAST!® mark or other BEAST-inclusive marks, such as REHAB THE
  13   BEAST!® and PUMP UP THE BEAST!®.                 Monster owns numerous U.S.
  14   trademark registrations for MONSTER and BEAST inclusive marks in
  15   connection with beverages.
  16         In 2013, over a decade after Monster launched its MONSTER line of
  17   drinks bearing the UNLEASH THE BEAST!® mark, Defendants began selling
  18   beverages under the THUNDER BEAST mark. In 2016, Defendants added
  19   FIGHT MONSTERS to the labels of their THUNDER BEAST beverages.
  20   Defendants assert that they added the FIGHT MONSTERS mark as part of a
  21   campaign under which Defendants claim to donate 10% of their profits to
  22   causes that fight “monsters” in society. Defendants’ FIGHT MONSTERS mark
  23   appears adjacent to the THUNDER BEAST mark on the label.
  24         After Defendants added the FIGHT MONSTERS mark to their beverage
  25   labels, Monster filed this trademark infringement suit.     Defendants initially
  26   raised six Affirmative Defenses in their Answer. All of those Affirmative
  27   Defenses were later stricken except one—Defendants’ fair use defense.
  28   Defendants cannot prevail on that remaining defense as a matter of law.
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   1         There are two types of fair use—classic and nominative. Defendants
   2   cannot meet their burden of establishing classic fair use because their use of
   3   FIGHT MONSTERS does not describe Defendants’ beverages.                Nor can
   4   Defendants establish nominative fair use. Defendants concede that the FIGHT
   5   MONSTERS mark does not identify Monster or any of its products, and is not
   6   being used to compare Defendants’ products with Monster’s products.
   7         There is no genuine dispute that Defendants cannot prevail on their fair
   8   use defense.   Accordingly, Monster requests that the Court grant summary
   9   judgment in favor of Monster and against Defendants on that defense.
  10                         II. FACTUAL BACKGROUND
  11         In 2002, Monster launched its original MONSTER ENERGY® drink.
  12   (“Statement of Uncontroverted Facts and Conclusions of Law (“SUF”) ¶ 1.)
  13   The drink container displays Monster’s MONSTER ENERGY® and UNLEASH
  14   THE BEAST!® marks, as shown below:
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  24   (SUF ¶ 2.) After launching its original MONSTER ENERGY® drink in 2002,
  25   Monster expanded its MONSTER product line and began using additional
  26   marks containing the term BEAST in conjunction with its MONSTER
  27   ENERGY® and other MONSTER-inclusive marks. (SUF ¶ 3.) Monster is the
  28   owner of numerous U.S. trademark registrations for its BEAST-inclusive marks,

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   1   including UNLEASH THE BEAST!®, UNLEASH THE NITRO BEAST!®,
   2   REHAB THE BEAST!®, UNLEASH THE ULTRA BEAST!®, and PUMP UP
   3   THE BEAST!®, among others. (SUF ¶ 4.) Monster also owns numerous U.S.
   4   trademark registrations for its MONSTER marks. (SUF ¶ 5.) It is undisputed
   5   that Monster is the only company that owns U.S. registered trademarks that
   6   include the MONSTER mark for sodas. (SUF ¶ 6.)
   7         Defendants sell beverages under the mark THUNDER BEAST. (SUF ¶
   8   7.) Defendants claim to have first sold beverages under the THUNDER BEAST
   9   mark in 2013. (SUF ¶ 8.) Monster initiated a cancellation proceeding in the
  10   U.S. Patent and Trademark Office in January 2016 seeking to cancel a
  11   trademark registration owed by Defendant Thunder Beast LLC for the
  12   THUNDER BEAST mark. (SUF ¶ 9.) After Monster filed that cancellation
  13   action, Defendants added FIGHT MONSTERS to the principal display panel of
  14   their beverages and to marketing materials for the products. (SUF ¶ 10.) An
  15   example of Defendants’ beverage label is shown below:
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  26   (SUF ¶ 11.)
  27         Defendants claim that FIGHT MONSTERS is used “as a call to action, so
  28   that Defendants could use its bottles as a platform to inspire others to overcome
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   1   whatever ‘monster’ they face in their own lives.” (SUF ¶ 12.) Defendants
   2   purportedly use the FIGHT MONSTERS mark in connection with a program
   3   under which Defendants claim to donate 10% of their profits to causes that fight
   4   “monsters” in society. (SUF ¶ 13.) Stephen Norberg, Thunder Beast LLC’s
   5   founder and only employee, claims that he chose the term “monster” because
   6   “the word ‘monster’ most effectively encapsulates a shared experience that most
   7   people have of facing something that is evil and it is big and scary and hard and
   8   is primarily based in fear.” (SUF ¶¶ 14, 15.)
   9         Monster filed the present lawsuit on June 26, 2018. (SUF ¶ 16.) Monster
  10   asserted claims for, inter alia, trademark infringement and unfair competition
  11   based on Defendants’ infringing use of the THUNDER BEAST and FIGHT
  12   MONSTERS marks in connection with their beverages, which creates a
  13   likelihood of confusion with Monster’s BEAST-inclusive and MONSTER
  14   marks. (SUF ¶ 17.) Defendants filed their First Amended Answer on August
  15   20, 2018. (SUF ¶ 18.) Defendants asserted a “fair use” affirmative defense
  16   alleging that “[a]ny use by Defendants of trademarks owned by Plaintiff was
  17   fair use for comment and criticism, and not trademark use.”1 (SUF ¶ 19.)
  18                           III. LEGAL BACKGROUND
  19   A.    Standard for Summary Judgment
  20         Summary judgment is appropriate where the record, read in the light most
  21   favorable to the nonmovant, indicates “that there is no genuine dispute as to any
  22   material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
  23   Civ. P. 56(a); see also Simo v. Union of Needletrades, Indus. & Textile
  24   Employees, 322 F.3d 602, 609-10 (9th Cir. 2003). Where the non-moving party
  25   bears the burden of proof, “the burden on the moving party may be discharged
  26         1
               Defendants have raised the fair use defense only with respect to their
  27   use of the FIGHT MONSTERS mark, and not with respect to the THUNDER
       BEAST mark. (SUF ¶ 20.)
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   1   by ‘showing’ – that is, pointing out to the district court – that there is an absence
   2   of evidence to support the nonmoving party’s case.” Celotex Corp. v. Catrett,
   3   477 U.S. 317, 325 (1986).
   4   B.    Fair Use
   5         Fair use falls into two catergories—classic and nominative. Cairns v.
   6   Franklin Mint Co., 292 F.3d 1139, 1150 (9th Cir. 2002). Classic fair use occurs
   7   where “the defendant has used the plaintiff’s mark to describe the defendant’s
   8   own product.” Id. (internal quotation marks omitted) (emphasis in original).
   9   The Ninth Circuit has explained:
  10         A good example of classic fair use is In re Dual–Deck Video
  11         Cassette Recorder Antitrust Litig., 11 F.3d 1460 (9th Cir. 1993). In
             that case, the plaintiff sold a videocassette recorder, which had two
  12         decks in one machine, under the trademark ‘‘VCR–2.’’ See id. at
  13         1462. The defendant sold receivers and other machines to which
             two videocassette recorders could be attached and labeled the
  14         relevant terminals on the backs of its machines ‘‘VCR–1’’ and
  15         ‘‘VCR–2.’’ See id. Thus, the defendant used the mark ‘‘VCR–2’’
             only to describe its own products, to which any second VCR could
  16         be attached, and not at all to describe the plaintiff’s product or any
  17         other particular VCR. Accordingly, the classic fair use analysis
             was appropriate. We held that ‘‘[t]he uses were descriptive, and
  18         there is no evidence from which an inference of bad faith could be
  19         drawn.’’ Id. at 1467.

  20   Cairns, 292 F.3d at 1151 n. 9. To establish classic fair use, Defendants must
  21   prove that (i) they do not use FIGHT MONSTERS as a trademark or service
  22   mark; (ii) they use FIGHT MONSTERS “fairly and in good faith”; and (iii) they
  23   use FIGHT MONSTERS “only to describe” Defendants’ goods. Id. at 1151.
  24         Nominative fair use occurs where the “defendant has used the plaintiff’s
  25   mark to describe the plaintiff’s product.” Id. (internal quotation marks omitted)
  26   (emphasis in original). “Some examples of hypothetical uses that might qualify
  27   as a ‘nominative fair use’ are: comparative advertising (e.g., ‘Our ZETA gizmos
  28   last longer than ALPHA gizmos.”); independent repair facilities (e.g., ‘We
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   1   repair MERCEDES vehicles.’); independent retailers (e.g., ‘We sell genuine
   2   GLUGMORE plumbing parts.’).” 1 J. Thomas McCarthy, MCCARTHY ON
   3   TRADEMARKS AND UNFAIR COMPETITION § 4:17 (5th ed.).                To establish
   4   nominative fair use, Defendants must prove that they are using Monster’s mark
   5   to refer to Monster and (i) Monster’s products are not readily identifiable
   6   without using Monster’s mark, (ii) Defendants have used only so much of the
   7   mark as is reasonably necessary to identify Monster’s products, and (iii)
   8   Defendants have done nothing, in conjunction with their use of the mark, that
   9   would suggest sponsorship or endorsement by Monster. Cairns, 292 F.3d at
  10   1151 (citing New Kids on the Block v. New Am. Publ’g, Inc., 971 F.2d 302, 308
  11   (9th Cir. 1992)).
  12         “There is often a misunderstanding over the significance of the term ‘fair
  13   use’ in trademark law.” 1 J. Thomas McCarthy, MCCARTHY ON TRADEMARKS
  14   AND UNFAIR COMPETITION § 4:17 (5th ed.). “Sometimes the term ‘fair use’ is
  15   applied to all noninfringing uses of a mark, including those beyond [classic fair
  16   use and nominative fair use]. But this is not correct. ‘Fair use’ covers only a
  17   relatively small subset of noninfringing uses which fall into either of [classic
  18   fair use or nominative fair use].” Id.
  19                                  IV. ARGUMENT
  20         Defendants bear the burden of proving their fair use defense. Cairns, 292
  21   F.3d at 1151. No evidence supports that defense. The undisputed evidence
  22   shows that Defendants’ use of FIGHT MONSTERS on their beverage labels
  23   and associated marketing materials fails to satisfy the requirements for either
  24   classic or nominative fair use. Accordingly, the Court should grant summary
  25   judgment against Defendants and in favor on Monster on the fair use defense.
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    1         1.     Defendants’ Use of the FIGHT MONSTERS Mark is Not
    2                Classic Fair Use
    3         There is no evidence that Defendants use the FIGHT MONSTERS mark
    4   in a descriptive sense to describe their own beverages, such as describing how
    5   the beverages taste.   (SUF ¶ 21.)     Rather, the undisputed evidence is that
    6   Defendants claim to use FIGHT MONSTERS “as a call to action, so that
    7   Defendants could use its bottles as a platform to inspire others to overcome
    8   whatever ‘monster’ they face in their own lives.” (SUF ¶ 12.) Defendants are
    9   using FIGHT MONSTERS as a mark to attract consumers, as evidenced by its
   10   positioning with the primary mark THUNDER BEAST on Defendants’
   11   beverage containers, and the use of DRINK THUNDER adjacent to the FIGHT
   12   MONSTERS mark. (SUF ¶ 10.) Accordingly, Defendants’ use of FIGHT
   13   MONSTERS cannot be classic fair use as a matter of law because Defendants
   14   do not use FIGHT MONSTERS to describe their own goods. See Cairns, 292
   15   F.3d at 1150-51.    Indeed, Defendants’ pleading of the fair use affirmative
   16   defense does not even allege that Defendants use the term FIGHT MONSTERS
   17   to describe their own products. (SUF ¶ 22.)
   18         2.     Defendants’ Use of the FIGHT MONSTERS Mark is Not
   19                Nominative Fair Use
   20         Defendants admit that they do not use the FIGHT MONSTERS mark to
   21   identify Plaintiff Monster Energy or to idenfity any of Monster’s products.2
   22
              2
   23            Defendants’ response to Monster’s interrogatory concerning the fair use
        affirmative defense states in part: “[t]o the extent that Defendants have referred
   24   to Plaintiff Monster Energy Company as an example or illustration of the type
   25   of “monster” Defendants strive to conquer, Defendants explicitly identify
        Monster Energy in order to report Defendants’ negative experience with
   26   Plaintiff and to express a truthful and critical commentary on Plaintiff and do
   27   not imply affiliation or sponsorship…” (SUF ¶ 23.) But references by
        Defendants to the present dispute with Monster Energy is not the issue here.
   28   The issue here concerns Defendants’ use of FIGHT MONSTERS in connection
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    1   (SUF ¶ 23.) Instead, Defendants claim to use FIGHT MONSTERS as a “call to
    2   action” rather than as a reference to Monster. (SUF ¶¶ 12, 23.) Defendants’
    3   marketing materials explain “what the Fight Monsters mission is all about”:
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   24   (SUF ¶ 24.) Indeed, Mr. Norberg testified that FIGHT MONSTERS is not
   25   intended to be a reference to Monster Energy:
   26
   27   with Defendants’ beverages, which Defendants contend is not an explicit
        reference to Monster Energy.
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    1                Q.    So did you intend consumers to think of Monster
                Energy when they saw Fight Monsters on the label?
    2
                       A.    No. I did not want people to think about Monster
    3
                Energy directly, which is why I didn’t say Monster Energy or
    4           something similar. I assumed that people would read my story
                and they would hear about my bullying and think it’s unfair, but I
    5
                would be happy if no one ever thinks of Monster Energy ever again
    6           in connection with me, and I would much rather them just see the
                monster in whatever connotation that word has in their mind from
    7
                their life and past experience, which I think is just this kind of
    8           generic really evil scary being, that that is what would inspire them.
    9
   10   (SUF ¶ 25.) Defendants also admit that their use of the FIGHT MONSTERS
   11   mark does not serve to compare Defendants’ products with any of Monster’s
   12   products. (SUF ¶ 26.) For example, Mr. Norberg further testified:
   13                 Q.    Does the use of Fight Monsters on the product label
                serve to compare Thunder Beast products with any of Monster
   14           Energy’s products?
   15                A.    No, I don’t want to compare my products with
   16           Monster Energy. I want to be as separate and different from
                Monster Energy as possible.
   17
   18   (Id.)
   19           Thus, it is undisputed that Defendants are purporting to use FIGHT
   20   MONSTERS in a general sense to refer to all sorts of “monsters” that exist in
   21   the world. Defendants concede they are not using FIGHT MONSTERS to
   22   identify Monster Energy or its products, or to compare Defendants’ products
   23   with Monster’s products. (SUF ¶¶ 25, 26.) Consequently, Defendants’ use of
   24   FIGHT MONSTERS cannot be nominative fair use. See Cairns, 292 F.3d at
   25   1150-1151; Warner Bros. Entm’t v. Glob. Asylum, Inc., CV12-9547-PSG, 2012
   26   WL 6951315, at *19 (C.D. Cal. Dec. 10, 2012), aff’d sub nom., 544 Fed. App’x
   27   683 (9th Cir. 2013); Align Technology, Inc. v. Strauss Diamond Instruments,
   28   Inc., No. 18-cv-06663-TSH, 2019 WL 1586776, at *5-6 (N.D. Cal. Apr. 12,
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    1   2019) (defendant’s use of plaintiff’s marks did not qualify as nominative fair
    2   use because defendant used the marks to refer to its own products, not to refer to
    3   the plaintiff’s product); AVCO Corporation v. Turn and Bank Holdings, LLC,
    4   No. 4:12-cv-01313, 2018 WL 1706359, at *10 (M.D. Pa. Apr. 9, 2018) (no
    5   nominative fair use where marks were used to label defendant’s own product
    6   rather than to refer to the trademark owner’s products).
    7         Moreover, Defendants cannot show that they have done nothing, in
    8   conjunction with their use of FIGHT MONSTERS on beverage labels, that
    9   would suggest sponsorship or endorsement by Monster. Cairns, 292 F.3d at
   10   1151 (noting that one element of nominative fair use is that the defendant has
   11   done nothing, in conjunction with its use of the plaintiff’s mark, that would
   12   suggest sponsorship or endorsement by the plaintiff).          On the contrary,
   13   Defendants’ use of the FIGHT MONSTERS mark in connection with their
   14   beverages suggests sponsorship or endoresement by Monster.
   15         Monster is the owner of numerous trademark registrations for its
   16   MONSTER and BEAST-inclusive marks, and is the only company that owns
   17   U.S. registered trademarks that incorporate the MONSTER mark for
   18   sodas. (SUF ¶¶ 4–6.) Defendants purposely chose, with full knowledge of
   19   Monster’s trademark rights, to place a MONSTER-inclusive mark (FIGHT
   20   MONSTERS) front and center on their beverage labels. (SUF ¶ 10.)
   21   Defendants’ use of a MONSTER-inclusive mark on their beverage container
   22   together with a BEAST-inclusive mark, which Monster has done since 2002 on
   23   its beverages, further suggests sponsorship or endorsement of Defendants’
   24   beverages by Monster. Monster has an extensive line of MONSTER drinks and
   25   Defendants’ beverage is likely to be perceived as a further extension of
   26   Monster’s line of beverages.
   27         The addition of the letter “s” to “monster” in the FIGHT MONSTERS
   28   mark does not dispel a perceived sponsorship or endoresement of Defendants’
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    1   beverages by Monster. See, e.g., Virginia Polytechnic Inst. & State Univ. v.
    2   Hokie Real Estate, Inc., No. 7:10-cv-00466, 2011 WL 926862, at *6 (W.D. Va.
    3   Mar. 15, 2011) (“[C]ourts have held that the singular and plural forms of the
    4   same word are essentially indistinguishable in the trademark context.”) (internal
    5   quotation marks omitted). Nor does the inclusion of “fight” in the FIGHT
    6   MONSTERS mark negate a perceived sponsorship or endorsement. Monster
    7   uses its MONSTER mark in connection with marks such as PUNCH
    8   MONSTER® and MUSCLE MONSTER®.                    (SUF ¶¶ 5, 3.)    Monster also
    9   sponsors the Ultimate Fighting Championship (“UFC”) and sponsors UFC
   10   athletes.      (SUF ¶ 27.)   Thus, consumers are likely to believe that FIGHT
   11   MONSTERS is one of Monster’s MONSTER family of marks. Accordingly,
   12   Defendants cannot meet their burden of showing they have done nothing to
   13   suggest sponsorship or endorsement by Monster.
   14                                   V. CONCLUSION
   15              For the above reasons, Monster requests that the Court grant summary
   16   judgment in favor of Monster on Defendants’ fair use defense.
   17                                    Respectfully submitted,
   18                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
   19
   20   Dated: July 26, 2019             By: /s/ Marko R. Zoretic
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   21
                                            Lynda J. Zadra-Symes
   22                                       Matthew S. Bellinger
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